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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                       )
                                                )
                         Plaintiff,             )
                                                )
        v.                                      )       Case No. 10-20100-02-JWL
                                                )
ROSEMARY FLORES                                 )
                                                )
                         Defendant.             )

                                               ORDER

        This matter comes before the court on the motion of defendant Rosemary Flores,

pursuant to Fed. R. Crim. P. 10(b), to waive her appearance at the arraignment scheduled for

September 29, 2010, at 2:00 p.m. (doc. 79).

        Defendant has been charged by superseding indictment. Attached to defendant’s

above-referenced motion is her signed affidavit stating that she has received and reviewed

a copy of the indictment, maintains her plea of not guilty, and seeks to be excused from

appearing at the arraignment. For good cause shown, and in accordance with Fed. R. Crim.

P. 10(b), the court accepts defendant’s waiver of her appearance at the arraignment.

Defendant’s motion is therefore granted.

        IT IS SO ORDERED.

        Dated September 29, 2010, at Kansas City, Kansas.

                                                         s/ James P. O’Hara
                                                         James P. O’Hara
                                                         U.S. Magistrate Judge


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